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                                                                                            FILED
                                                                                      November 20, 2024


                                                                                  CLERK, U.S. DISTRICT COURT
                                                                                  WESTERN DISTRICT OF TEXAS
                           UNITED STATES DISTRICT COURT                                  By:        RR
                            WESTERN DISTRICT OF TEXAS                                                    Deputy

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                               S NAAnTo
                                    NtOn
                                       NiIoO DIVISION
                                                              Case No:                SA:24-CR-00573-JKP


 UNITED STATES OF AMERICA
        Plaintiff

                 v
                                                    INDICTMENT
  1 FELIX RODRIGUEZ-VARGAS
                                                                Conspiracy       to   Traffick    inFirearms
 2 EDWIN PELAYO

        Defendants.

                                                                Trafficking in FirearmsAide andAbet d




THE GRAND JURY CHARGES:


                                        COUNT ONE
                            [18 U.S.C. §§ 933(a)(2) and 933(a)(3)]


       From on or about October 18, 2024, to October 28, 2024, in the Western District of Texas,

   defendants,


                            (1) FELIX RODRIGUEZ-VARGAS,
                                    (2) EDWIN PELAYO,


and others, did conspire to receive at least one firearm, to wit: a Model M134 Minigun, from


another person in or otherwise affecting interstate or foreign commerce, knowing or having


reasonable cause to believe that such receipt would constitute a felony, to wit: possession of a


machinegun, in violation of Title 18, United States Code, Sections 933(a)(2) & 933(a)(3).
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                                           COUNT TWO
                              [18 U.S.C. § 933(a)(2), 933(a)(3), and 2]

       From on or about October 18, 2024, to October 28, 2024, in the Western District of Texas,

   defendants,


                               (1) FELIX RODRIGUEZ-VARGAS,
                                      (2) EDWIN PELAYO,


aided and abetted by each other and others, did attempt to receive at least one firearm, to wit: a


Model M134 Minigun, from another person in or otherwise affecting interstate or foreign


commerce, knowing or having reasonable cause to believe that such receipt would constitute a


felony, to wit: possession of a machinegun, in violation of Title 18, United States Code, Sections


933(a)(2) 933(a)(3), and 2.


    NOTICE OF UNITED STATES OF AMERICA’S DEMAND FOR FORFEITURE
                                    [See Fed. R. Crim. P. 32.2]


                                                  I.
                           Firearm Violation and Forfeiture Statutes
    [Title 18 U.S.C. § 933(a)(2) and (3) subject to forfeiture pursuant to Title 18 U.S.C. §
       924(d)(1), made applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c)]


       As a result of the criminal violations set forth in Counts One and Two, the United States


of America gives notice to the Defendants of its intent to seek the forfeiture of certain property


upon conviction and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. § 924(d)(1), made


applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c), which states:


       Title 18 U.S.C. § 924. Penalties
           (d)(l) Any firearm or ammunition involved in or used in any knowing violation
           of . . . section 933 . . . shall be subject to seizure and forfeiture . . . under the
           provisions of this chapter......
                                                   II.
                            Firearm Violation and Forfeiture Statutes
             [Title 18 U.S.C. § 933(a)(2) and (3) subject to forfeiture pursuant to
                              Title 18 U.S.C. § 934(a)(1)(A) and (B)]

       As a result of the criminal violations set forth in Counts One and Two, the United States


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of America gives notice to the Defendants of its intent to seek the forfeiture of certain property

upon conviction and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. § 934(a)(1)(A) and (B),

which state:



       Title 18 U.S.C. § 934. Forfeiture and Fines.
       (a) Forfeiture. --
           (1) In general.         Any person convicted of a violation of section
           932 or 933 shall forfeit to the United States, irrespective of any provision of
           State law--
                (A) any property constituting, or derived from, any proceeds the person
                obtained, directly or indirectly, as the result of such violation; and
                (B) any of the person's property used, or intended to be used, in any manner
                or part, to commit, or to facilitate the commission of, such violation . . .




       JAIME ESPARZA
       UNITED STATES ATTORNEY

B Y:
       Zachary W. Parsons

       Assistant U.S. Attorney




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